-'v ,.-.-w~.~n.».-”F,-r-........

Case 1:OO-cv-10218-D‘I\/|L ECF No. 19 filed 04/25/02 Page|D.lQ Page 1 of 1

UN.lTED STATES D.lSTRlCT COUR.T
EASTER`N DISTRICT OF MICH.[GAN

 

  

 

NO_RTl-IERN DIVlSlON
LARR.Y LE.H POLK,
Plaintiff,
Case Number OO-»CV-] OZIS-BC
v, H`onorabie David M. Lawson
C`R.AIG TUER and
l-’ATRICK SIIARKEY,
‘W
§
Defendants. §§ mm
/ "““”
_,u_ _ ___ pew
' §- 'l
ORDER OF .REFERENCE . ~ ,_5_; §§ ld§jl
~< ~';'3, ge 1353

Pursuant to the discussion and agreement of the parties, it is ORDEREII:_i@t this§se is
REFERRED to United States Magistrate Judge Virginia M. Morgan pursuant to 28 U.S.C. §
63 6{b)(3) for a settlement conference on Wednesday, May 8, 2002 at 10:00 A.M. The parties are
directed to appear in person Witli the clients Or decision makers also in person at Roorn 651,
Thcodore Levin Un:lted Statcs Courthouse, Detroil, Michigan.

lt is further ORDERED that the parties shall provide .Magistrate Judge Virginia M. Morgan
With a brief summary of their case not to exceed one page on or before Ma.y 6, 2002. "l` he summary

maybe taxed directly to Magistrate Judge Morgan’s chambers at (313) 234-5496.

 

 

Unitcd States District lodge

natcd: Aprii 25_, 2002

Copics sent to:

Ernest L-. larrett, Esquire

Mark S. Meadows, Esquirc
Magisirate lilde Virginia M. Morgan

